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                                                              CLERKS OFFICE U.S. DIST. COURT
                                                                 AT CHARLOTTESVILLE, VA
                                                                        FILED
                                                                   12/31/2019
                                UNITED STATES DISTRICT COURT     JULIA C. DUDLEY, CLERK
                                WESTERN DISTRICT OF VIRGINIA     BY: /s/ J. JONES
                                     CHARLOTTESVILLE DIVISION        DEPUTY CLERK

    ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                           v.                            ORDER

    JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



         This matter is before the Court further to this Court’s Order Finding Elliott Kline in Civil

  Contempt, issued on November 27, 2019 (Dkt. 599), and this Court’s Order Finding Elliott Kline

  Remains in Civil Contempt and Order for Elliott Kline to Surrender to Custody of the U.S.

  Marshal, issued on December 23, 2019 (Dkt. 610).

         Today, this Court received by e-mail a response from Elliott Kline attaching signed

  responses to Plaintiffs’ First Set of Interrogatories and First Set of Document Production Requests,

  as well as documentation for a money order for $600 that appears to have been mailed to Plaintiffs

  on Monday, December 30, 2019.

         If Plaintiffs wish to be heard on Kline’s submission as it relates to this Court’s finding of

  Elliott Kline in civil contempt and sanctions imposed by this Court, * Plaintiffs shall file a response

  no later than Thursday, January 2, 2020, at 11:59 p.m. EST.

         If Kline wishes to be heard further on these (or other) steps he has taken to purge himself

  of civil contempt, he shall e-mail any such response to Plaintiffs, to this Court’s Chambers e-mail



         *
           This Court notes that it intends to schedule further briefing on Plaintiffs’ pending Motion
  for Evidentiary Sanctions against Elliott Kline shortly after January 6, 2020.
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  (moon.ecf@vawd.uscourts.gov) and Judge Hoppe’s (hoppe.ecf@vawd.uscourts.gov), no later

  than Thursday, January 2, 2020, at 11:59 p.m. EST.

         At present and absent further written Order from this Court, Kline remains under this

  Court’s order to appear at the United States Courthouse in Charlottesville, Virginia, on Monday,

  January 6, 2020, at 12:00 p.m. EST, to surrender himself to the custody of the United States

  Marshals Service, and to bring with him any and all documents, electronic devices, credentials to

  access e-mail and social media accounts, and materials he would need to purge himself of

  contempt. Dkt. 610.

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties. The

  Clerk of the Court is further directed to send a certified copy of this Order to Elliott Kline at both

  email addresses he has provided as well as by mail to his address of record.

         Entered this    31st day of December, 2019.
